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                 5                                   UNITED STATES DISTRICT COURT
                 6                                           DISTRICT OF NEVADA
                 7                                                      ***
                 8       UNITED STATES OF AMERICA,                              Case No. 2:12-CR-463 JCM (VCF)
                 9                                              Plaintiff(s),                     ORDER
               10                  v.
               11        FREDERICK VERNON WILLIAMS, et al.,
               12                                             Defendant(s).
               13
               14              Presently before the court are the following motions in limine filed by defendant Frederick

               15       Williams: motion in limine to exclude evidence (doc. # 512);1 motion in limine to prohibit,
                        preclude, exclude, order, and grant (doc. # 513);2 motions in limine to permit telephonic testimony
               16
                        or in the alternative, live testimony via video transmission (doc. ## 631, 623); 3 motion in limine
               17
                        (doc. # 655); and motion in limine to exclude evidence and testimony. (Doc. # 681).
               18
                               Also before the court are defendant Carolyn Willis-Casey’s motion in limine to exclude
               19
                        testimony (doc. # 510)4 and motion in limine. (Doc. # 658).
               20              The defendants in this matter were charged by way of a thirty-two count superseding
               21       indictment filed May 20, 2014. (Doc. # 240). The parties proceeded to a jury trial on January 4,
               22       2016. On January 15, 2016, the jury returned guilty verdicts as to all defendants on varying counts.
               23       (Doc. ## 72023). The motions in limine are therefore moot.

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                                   The government filed a response (doc. # 526), and defendant filed a reply. (Doc. # 530).
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                                   The government filed a response (doc. # 526), and defendant filed a reply. (Doc. # 530).
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                                   The government filed a response (doc. # 638), and defendant filed a reply. (Doc. # 652).
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                                   The government filed a response. (Doc. # 526).
James C. Mahan
U.S. District Judge
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                1             Accordingly,
                2             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Frederick

                3     William’s motion in limine to exclude evidence (doc. # 512) be, and the same hereby is, DENIED
                      as moot.
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                5             IT IS FURTHER ORDERED that defendant Frederick William’s motion in limine to
                6     prohibit, preclude, exclude, order, and grant (doc. # 513) be, and the same hereby is, DENIED as
                7     moot.
                8             IT IS FURTHER ORDERED that defendant Frederick William’s motions in limine to
                9     permit telephonic testimony or in the alternative, live testimony via video transmission (doc. ##
              10      621
                      631, 623) be, and the same hereby are, DENIED as moot.
              11              IT IS FURTHER ORDERED that defendant Frederick William’s motion in limine (doc. #
              12      655) be, and the same hereby is, DENIED as moot.
              13              IT IS FURTHER ORDERED that defendant Frederick William’s motion in limine to
              14      exclude evidence and testimony (doc. # 681) be, and the same hereby is, DENIED as moot.
              15              IT IS FURTHER ORDERED that defendant Carolyn Willis-Casey’s motion in limine to
              16      exclude testimony (doc. # 510) be, and the same hereby is, DENIED as moot.
              17              IT IS FURTHER ORDERED that defendant Carolyn Willis-Casey’s motion in limine (doc.
              18      # 658) be, and the same hereby is, DENIED as moot.
              19              DATED April 12, 2016.
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              21                                                  __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
